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               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

RICHARD KAHN and AARK     :
ENTERPRISE LLC d/b/a      :
MAUDLIN’S, individually and on
                          :
behalf of all others similarly situated,
                          :                          1:20-cv-781
                          :
            Plaintiffs,   :
                          :
            v.            :                          Hon. John E. Jones III
                          :
PENNSYLVANIA NATIONAL     :
MUTUAL CASUALTY INSURANCE :
COMPANY,                  :
                          :
            Defendant.    :

                                       ORDER
                                  February 8, 2021
      In conformity with the Memorandum issued on today’s date, IT IS

HEREBY ORDERED THAT:

   1. Defendant Pennsylvania National Mutual Casualty Insurance Company’s

      Motion to Dismiss, (Doc. 31), is GRANTED.

   2. Plaintiff’ Amended Complaint, (Doc. 22), is DISMISSED.

   3. The Clerk of the Court SHALL CLOSE the file on this case.

                                            /s/ John E. Jones III
                                            John E. Jones III, Chief Judge
                                            United States District Court
                                            Middle District of Pennsylvania
